
378 So.2d 758 (1979)
Ex parte State of Alabama ex rel. Attorney General.
(Re James Hamby WEBB
v.
STATE of Alabama).
No. 79-178.
Supreme Court of Alabama.
December 21, 1979.
Charles A. Graddick, Atty. Gen., Sarah Kathryn Farnell, Asst. Atty. Gen., for petitioner.
Don R. White, Moulton, for respondent.
SHORES, Justice.
Writ denied.
TORBERT, C. J., and JONES and BEATTY, JJ., concur.
MADDOX, J., concurs specially.
MADDOX, Justice (concurring specially).
I concur in the result. On two previous occasions, I have expressed, in dissenting opinions, my view that this Court should take judicial notice of the rules and regulations of the State Board of Health. Commander v. State, Ala., 374 So.2d 921 (1979); Elmore v. State, Ala., 348 So.2d 269 (1977).
*759 A majority of the Court, however, has refused to follow my view. Although I am still not convinced that the majority view is sound, I must recognize that it is the current majority view, and I cannot find fault with the Court of Criminal Appeals for following the majority view, because that court is required to follow the decisions of this Court.
